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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF MINNESOTA

United States of America,

      Plaintiff,
v.                                   MEMORANDUM OF LAW & ORDER
                                        Crim. No. 15‐MJ‐312(4)
Zacharia Yusuf Abdurahman,

      Defendant.
_______________________________________________________________

     John Docherty and Andrew Winter, Assistant United States Attorneys,
Counsel for Plaintiff.

      Jon M. Hopeman, Felhaber Larson, Counsel for Defendant.
_______________________________________________________________

I.    Introduction

      This matter is before the Court on the Defendant’s Motion to Review the

Detention Order of Magistrate Judge Becky Thorson dated May 1, 2015 [Doc. No.

28]. The Court has conducted a de novo review of the proceedings before

Magistrate Judge Thorson. The Court has also reviewed the parties’ submissions

on appeal and heard arguments of counsel.

II.   Standard

      A defendant may be detained pending trial if the Court finds there is no



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“condition or combination of conditions . . . [that] will reasonably assure the

appearance of such person as required and the safety of any other person and the

community.” 18 U.S.C. § 3142(e)(1). Because the Defendant has been charged

under 18 U.S.C. § 2339B, and because the Magistrate Judge found probable cause

exists to support these charges, there is a rebuttable presumption that no

condition or combination of conditions will reasonably assure the appearance of

the Defendant and the safety of the community. 18 U.S.C. § 3142 (e)(3)(C) (18

U.S.C. § 2339B is a crime listed in 18 U.S.C. § 2332b(g)(5)).

      The existence of this presumption places upon the Defendant the ʺlimited

burden of production ‐ not a burden of persuasion ‐ to rebut that presumption by

coming forward with evidence he does not pose a danger to the community or a

risk of flight.ʺ United States v. Abad, 350 F.3d 793, 797 (8th Cir. 2003)(quoting

United States v. Mercedes, 254 F.3d 433, 436 (2d Cir. 2001)).

      Detention is appropriate where the government proves by clear and

convincing evidence that the Defendant is a danger to others or to the

community, or when the government proves by a preponderance of the evidence

that the Defendant is a risk of flight, and that in either case, there are no

conditions or combination of conditions that will assure the safety of the


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community or the Defendant’s appearance at future court proceedings.

      In making this determination, the Court must take into account the

following factors:

      (1) The nature and circumstances of the offense charged, including
      the fact that the crime charged is an offense listed in section
      2332b(g)(5)(B) for which a maximum term of imprisonment of 10
      years or more is prescribed;

      (2) the weight of the evidence against the person;

      (3) the history and characteristics of the person, including–

             (A) the person’s character, physical and mental condition,
             family ties, employment, financial resources, length of
             residence in the community, community ties, past conduct,
             history relating to drug or alcohol abuse, criminal history, and
             record concerning appearance at court proceedings; and
             (B) whether, at the time of the current offense or arrest, the
             person was on probation, on parole, or on other release
             pending trial, sentencing, appeal, or completion of sentence
             for an offense under Federal, State, or local law; and

      (4) the nature and seriousness of the danger to any person or the
      community that would be posed by the person’s release.

18 U.S.C. § 3142(g).

      A.     Offense Charged and Weight of the Evidence

      The Defendant has been charged in the Complaint with Conspiracy to

Provide Material Support to a Designated Terrorist Organization and Attempt to


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Provide Material Support to a Designated Foreign Terrorist Organization, in

violation of 18 U.S.C. § 2339B(a)(1) and § 2. The offenses charged in this case are

serious felonies that carry a statutory maximum sentence of 15 years.

      As set forth in the sworn Complaint, and as confirmed by the testimony of

Special Agent Samit, in May 2014, Abdullahi Yusuf was stopped at the MSP

airport as he was attempting to fly to Istanbul, Turkey. The government asserts

that Yusuf’s ultimate destination was Syria, so he could join ISIL, a foreign

terrorist organization. In response to Yusuf’s failed attempt to travel to Turkey, it

is believed that another individual, Y.J., co‐defendant Guled Omar and a

confidential human source (“CHS”) later tried to drive to San Diego, so they

could travel to Syria from Mexico. When this plan was frustrated, Y.J. took a bus

to JFK airport and was able to reach Turkey from there.

      On November 6, 2014, Guled Omar was stopped at the MSP airport before

boarding a flight to San Diego. He had a passport, but no checked luggage.

Later, in a conversation with the CHS, Omar told the CHS that he immediately

called co‐defendant Hanad Musse to inform him that he had been stopped and

not allowed to travel to San Diego.

      Thereafter, Musse and the Defendant Zacharia Abdurahman and two


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others took a Greyhound bus from Minnesota to New York. Once in New York,

Musse and Abdurahman booked airline tickets to Athens, Greece. Neither one

was allowed to board the plane, however. During questioning by law

enforcement, Musse said he was traveling alone to Greece to “chill,” that he did

not know anyone in Greece and that he had not made any reservations in Greece.

Abdurahman also stated that he was traveling alone to Greece, but then later

changed his story, stating that he was traveling with Musse. He also volunteered

that if he was really going to Syria to join ISIS he would have traveled to Istanbul.

      Upon returning to Minnesota, both men were part of a group that in

February 2015, was attempting to travel to southern California to collect forged

passports and then cross into Mexico, and from there, travel to Syria. The CHS

learned from members of the conspiracy that others were in direct contact with

Abdi Nur, a man from Minnesota who had flown to Istanbul on May 29, 2014,

and whose social media postings and interactions with “Witness 1ʺ showed that

he had entered Syria and joined ISIL. The plan to obtain false passports was

derailed when Abdi Nur was unable to arrange for the passports from his source.

When the plan fell through, the CHS told Guled Omar that he may be able to

secure a contact in California for forged travel documents. When such a contact


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was made, Omar notified others in the conspiracy of the existence of a new

source for forged travel documents.

      On April 5, 2015, Musse’s passport photograph was given to the CHS by

co‐defendant Adnan Farah. Only after his father confronted him about the plan

to leave the United States did Musse ask for his passport photograph back.

      Abdurahman also provided the CHS a passport photograph, but later

asked that it be given back as he had developed concerns about the security of

the plan. Abdurahman nonetheless assisted co‐defendant Mohamed Farah by

giving the CHS $100 as partial payment for Farah’s forged passport.

      As set forth above, the weight of the evidence supports a finding of

detention. Not only did the Defendant attempt to travel overseas to join a violent

terrorist organization, he also participated in attempts to obtain forged travel

documents by providing photographs and cash payments.

      B.      Harm to the Community/Risk of Flight

      The Defendant submits that he has provided sufficient evidence to rebut

the presumption that he should be detained pending trial, including his lack of

criminal history, the fact that he is a United States citizen and is attending college

at MCTC. Evidence was also presented that the Defendant works part‐time at


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the Harriet Tubman Shelter, and that he lives with his mother and siblings. In

addition, the Defendant established that he did not obtain a false passport and

that even though he was aware that he was a target of an FBI investigation as of

November 2014, he did not flee the country. He has turned over his passport to

his attorney.

      The Court finds that the Defendant poses a risk of harm to the community.

He is charged with attempting to join the most violent terrorist organization,

ISIL. If he were to succeed, there is harm to the immediate Minnesota

community, as the record demonstrates when young men successfully travel and

join a terrorist organization, they tend to reach back to Minnesota through social

media to recruit other young men.

      The Court also finds there would be harm to the wider community ‐ that of

civilians in the Middle East ‐ if the Defendant succeeds in his ambition to travel

to Syria and join ISIL.

      Finally, there is evidence in the record which indicates the Defendant poses

a flight risk. Part of the offense conduct in this case involves the Defendant’s

attempt to travel overseas to join a terrorist organization, and his attempt to

obtain forged travel documents to achieve his goal.


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       C.      History and Characteristics of the Defendant

       The Defendant is 19 years old and was born in Minnesota. He is a high

school graduate and is a student at MCTC. The Defendant works part‐time at the

Harriet Tubman Shelter, and he lives with his mother and siblings. The

Defendant has a good relationship with his father, who is employed by Head

Start as an interpreter and translator.

       The Defendant asserts he has traveled outside of the United States once,

when he was approximately 11 years old, traveling to Dubai and Sweden with

his mother. He further notes that being of Somali descent, he and other Somali

people speak and dress differently than most people in Minneapolis. Somali

people here are subjected to verbal and physical abuse, but the Defendant has

never retaliated against such abuse. He has no mental or physical problems.

       The Defendant asserts he is engaged to a young woman named Munna

who is also a student at community college. The Defendant has asked

permission to marry from Munna’s father and they are to be married after they

finish school.

III.   Conclusion

       Based on the file, record and proceedings herein, the Court finds that the


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Defendant has not presented sufficient evidence to rebut the presumption in

favor of detention. The Court further finds that there is clear and convincing

evidence that no condition or combination of conditions will reasonably assure

the safety of the community if the Defendant is released, and that a

preponderance of the evidence demonstrates that the Defendant is a flight risk.

      IT IS HEREBY ORDERED that the Defendant’s Motion to Review the

Detention Order of Magistrate Judge Thorson [Doc. No. 30] is DENIED. The

Defendant shall remain in the custody of the U.S. Marshal pending further Order

of this Court.

Date: May 15, 2015
                               s/ Michael J. Davis
                               Michael J. Davis
                               Chief Judge
                               United States District Court




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